Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 1 of 9




                EXHIBIT “A”
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 2 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 3 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 4 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 5 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 6 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 7 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 8 of 9
Case 10-93904-BHL-11   Doc 2418-1   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 9 of 9
